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                    Exhibit F
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Facebook's Privacy Policy.


Date of last revision: October 5, 2010.

This policy contains nine sections, and you can jump to each by selecting the links below:

1.   Introduction
2.   Information We Receive
3.   Sharing information on Facebook
4.   Information You Share With Third Parties
5.   How We Use Your Information
6.   How We Share Information
7.   How You Can Change or Remove Information
8.   How We Protect Information
9.   Other Terms

1. Introduction

Questions. If you have any questions or concerns about our privacy policy, contact our privacy team through this help page. You may also contact us by mail at 1601 S.
California Avenue, Palo Alto, CA 94304.

TRUSTe Program. Face book has been awarded TRUSTe's Privacy Seal signifying that this privacy policy and practices have been reviewed by TRUSTe for compliance with
TRLSTe's program requirements. If you have questions or complaints regarding our privacy policy or practices, please contact us by mail at 1601 S. California Avenue, Palo
Alto, CA 94304 or through this help paqe. If you are not satisfied with our response you can contact TRUSTc hcrc.This privacy policy covers the website www.faccbook.com.
The TRUSTe program covers only information that is collected through this Web site, and does not cover other information, such as information that may be collected through
software downloaded from Face book.




TRUSTe



TO VERIFY


         TRUSTe


Safe Harbor. Face book also complies with the EU Safe Harbor framework as set forth by the Department of Commerce regarding the collection, use, and retention of data from
the European Union. As part of our participation in the Safe Harbor, we agree to resolve all disputes you have with us in connection with our policies and practices through
TRUSTe. We will also provide initial responses to access requests within a reasonable period of time. To view our certification, visit the U.S. Department of Commerce's Safe
Harbor Web site.

Scope. This privacy policy covers all of Facebook. It does not, however, apply to entities that Facebook does not own or control, such as applications and websites using
Platform. By using or accessing Facebook, you agree to our privacy practices outlined 'let e.

No information from children under age 13. If you are under age 13, please do not attempt to register for Face book or provide any personal information about yourself to
us. If we learn that we have collected personal information from a child under age 13, we will delete that information as quickly as possible. If you believe that we might have
any information from a child under age 13, please contact us through this help page.

Parental participation. We strongly recommend that minors 13 years of age or older ask their parents for permission before sending any information about themselves to
anyone over the Internet and we encourage parents to teach their children about safe internet use practices. Materials to help parents talk to their children about safe internet
use can be found on this help page.

2. Information We Receive

Information you provide to us:

Information About Yourself. When you sign up for Face book you provide us with your name, email, gender, and birth date. During the registration process we give you the
opportunity to connect with your friends, schools, and employers. You will also be able to add a picture of yourself. In some cases we may ask for additional information for
security reasons or to provide specific services to you. Once you register you can provide other information about yourself by connecting with, for example, your current city,
hometown, family, relationships, networks, activities, interests, and places. You can also provide personal information about yourself, such as your political and religious
views.

Content. One of the primary reasons people use Face book is to share content with others. Examples include when you update your status, upload or take a photo, upload or
record a video, share a link, create an event or a group, make a comment, write something on someone's Wall, write a note, or send someone a message. If you do not want
us to store metadata associated with content you share on Face book (such as photos), please remove the metadata before uploading the content.

Transactional Information. We may retain the details of transactions or payments you make on Facebook. If you do not want us to store your payment source account
number, you can remove it using your payments page.

Friend Information. We offer contact importer tools to help you upload your friends' addresses so that you can find your friends on Facebook, and invite your contacts who do
not have Face book accounts to join. If you do not want us to store this information, visit this help page. If you give us your password to retrieve those contacts, we will not
store your password after you have uploaded your contacts' information.

Information we collect when you interact with Facebook:

Site activity information. We keep track of some of the actions you take on Face book, such as adding connections (including joining a group or adding a friend), creating a
photo album, sending a gift, poking another user, indicating you "like" a post, attending an event, or connecting with an application. In some cases you are also taking an
action when you provide information or content to us. For example, if you share a video, in addition to storing the actual content you uploaded, we might log the fact that you




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shared it.

Access Device and Browser Information. When you access Facebook from a computer, mobile phone, or other device, we may collect information from that device about
your browser type, location, and IP address, as well as the pages you visit.

Cookie Information. We use "cookies" (small pieces of data we store for an extended period of time on your computer, mobile phone, or other device) to make Face book easier
to usc, to make our advertising better, and to protect both you and Facebook. For example, we usc them to store your login ID (but never your password) to make it easier for
you to login whenever you come back to Face book. We also use them to confirm that you are logged into Face book, and to know when you are interacting with Facebook
Platform applications and websites, our widgets and Share buttons, and ou1· advertisements. You can remove or block cookies using the settings in your browser, but in some
cases that may impact your ability to use Face book.

Information we receive from third parties:

Facebook Platform. We do not own or operate the applications or websites that you use through Facebook Platform (such as games and utilities). Whenever you connect with
a Platform application or website, we will receive information from them, including information about actions you take. In some cases, in order to personalize the process of
connecting, we may receive a limited amount of information even before you connect with the application or website.

Information from other websites. We may institute programs w1th advertising partners and other websites             1n   which they share information with us:


We may ask advertisers to tell us how our users responded to the ads we showed them (and for comparison purposes, how other users who didn't see the ads acted on their
site). !'his data sharing, commonly known as "conversion trackmg,' helps us measure our advertising effectiveness and improve the quality of the advertisements you see.
WP may rPrPiVP information about whethPr or not you've sePn or intPracte-d with cPrtain ads on other c;ites in order to mPasure thP effPctivPness oftho<>e ads.



If in any of these cases we receive data that we do not already have, we will "anonymize" it within 180 days, meaning we will stop associating the information with any
particular user. If we institute these programs, we will only use the information in the ways we explain in the "How We Use Your Information" section below.

Information from other users. We may collect infmrnation about you frorn other Facebook users, such as when a friend tags you in a photo, video,                 01   place, provides friend
details, or indicates a relationship with you.

3. Sharing information on Facebook.

This ~Prtion e-xplains how your privacv   <-.P~iiPgs   work, and how your information is shared on FacPbook. You should always considPT your priv,;_rv c;etting<>bPfore sharing
information on Facebook.

Name and Profile Picture. Face book is designed to make it easy for you to find and connect with others. For this reason, your name and profile picture do not have privacy
settings. If you are uncomfortable with sharing your profile picture, you should delete it (or not add one). You can also control who can find you when searching on race book
or on public search engines using the Applications and Web sites privacy setting.


Contact Information. Your contact information settings control (available when customizing your privacy                     who can contact you on Face book, and who can see your
contact information such as your email and phone number(s). Remember that none of this information is                       except for your email address, and you do not have to share
your email address with anyone.


Personal Information. Your personal information settings control who can see your personal information, such as your religious and political views. if you choose to add
them. We recommend that you share this information using the friends of friends setting.

Posts by Me. You can seiPct a privacy SPtting for PVPry post you mr-Ike using thP publisher on our sitP. WhPthPr you are uploading a photo or po'::>ting a status updatP, you
can control exactly who can sec it at the time you create it. Whenever you share something look for the lock icon. Clickinq on the lock will bring up a menu that lets you
choose who will be able to see your post. If you decide not to select your setting at the time you post the content. your content will be shared consistent with your Posts by Me
default privacy

(available when customizing your privacy settings).

Gender and Birth Date. In addition to name and email address, we require you to provide your gender and birth date during the registration process. We ask for your date of
birth to verity that you are 13 or older, and so that we can better limit your access to content and advertisements that are not age appropriate. Because your date of birth and
gender are required, you cannot delete them. You can, however, edit your profile to hide all (or part) of such fields from other users

Other. Here are some other things to remember:


Some of the content you share and the actions you take will show up on your friends' home pages and other pages they visit.
If another user tags you in a photo or v1deo or at a place, you can remove the tag. You can also limit who can see that you have been tagged on your profile from your privacy

Even        you remove information from your profile or delete your account, copies of that information may remain viewable elsewhere to the extent it has been shared with
others, it was otherwise distributed pursuant to your                  or it was copied or stored by other users.
You understand that information might be reshared or           by       users.
Certain types of communications that you send to other users cannot be removed, such as messages.
WhPn you post information on another usEr's profile or comment on another user's post, that infurma.tion will bf' subject to the othPr user's
If you use an external source to publish information to Face book (such as a mobile application or a Connect site), you should check the privacy               post, as it is set
by that external source.



"Everyone" Information. Information set to "everyone" is publicly available Information, JUSt like your name, profile picture, and connections. Such information may, for
example, be accessed by everyone on the Internet (including people not logged into Facebook), be indexed by third party search engines, and be imported, exported,
distributed, and redistributed by us and others without privacy limitations. Such information may also be associated with you, including your name and profile picture, even
outside of Face book, such as on public search engines and when you visit other sites on the internet. The default privacy setting for certain types of information you post on
Face book is set to "everyone." You can review and change the default settings in your r:;rivacy settings. If you delete ''everyone" content that you posted on Face book. we will
remove 1t from your Facebook profile, but have no control over its use outside of Face book.

Minors. We reserve the right to add special protections for minors (such as to provide them with an age-appropriate experience) and place restrictions on the ability of adults
to share and connect with minors, recognizing this may provide minors a more limited experience on Face book

4. Information You Share With Third Parties.

Facebook Platform. As mentioned above, we do not own or operate the applications or websites that use Face book Platform. That means that when you use those
applications and webs1tes you are mak111g your Facebook information available to someone other than Face book. Prior to allowmg them to access any information about you,
we require them to agree to terms that limit their use of your information (which you can read about in Section 9 of our Statement of Rights and Responsibilities) and we use
technical measures to ensure that they only obtain authorized information. To learn more about Platform, visit our .A, bout Platform page.

Connecting with an Application or Website. When you connect with an application or website it will have access to General Information about you. The term General
Information includes your and your friends' names, profile pictures, gender, user IDs, connections, and any content shared using the Everyone privacy setting. We may also
make information about the location of your computer or access device and your age available to applications and websites in order to help them implement appropriate
security measures and control the distribution of age-appropriate content. If the application or website wants to access any other data, it will have to ask for your permission.

We give you tools to control how your information is shared with applications and websites that use Platform. For example, you can block all platform applications and




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wPbsites cornpiPtPiy or block specific                from accessing your information hy visiting your Applications and     Web<;itP~   priva.cy   <:.P!   ing or thP spPcific application's
"About'' page. You can also use your            set:ingsto limit which of your information is available to "everyone''.


You should always reviPW the policiPs of third party applicatiom and websitPs to make sure you <HP comfortable with thP ways in which thPy use information you <;hare with
them. We do not guarantee that they will follow our rules. If you find an application or website that violates our rules, you should report the violation to us on this help
pageand we will take action as necessary.

When your friends use Platform. If your friend connects with an application or website, it will be able to access your name, profile picture, gender, user ID, and information
you have shared with "everyone." It will also be able to access your connections, except it will not be able to access your friend list. If you have already connected with (or
have a separate account with) that website or application, it may also be able to connect you with your friend on that application or website. If the application or website
wants to access any of your other content or information (including your friend list), it will have to obtain specific permission from your friend. If your friend grants specific
permission to the application or website, it will generally only be able to access content and information about you that your friend can access. In addition, it will only be
allowed to use that content and information in connection with that friend. For example, if a friend gives an application access to a photo you only shared vvith your friends,
that application could allow your friend to view or print the photo, but it cannot show that photo to anyone else.

We prov1de you with a number of tools to control how your information is shared when your fnend connects with an application or webs1te. tor example, you can use your
Application and Wf'bsites         'iPtti'lg to limit some of the inforrnation your friends can make availabiP to applkatiom and websitPs. You can block all platform applications
and wcbsites completely or         particular applications or websites from acccssinq your information. You can use your privacy              limit which friends can access your
information, or limit which of your information is available to "everyone." You can also disconnect from a friend if you are                with how they are using your
information.


Pre-Approved Third-Party Websites and Applications. In order to provide you with useful social experiences off of Face book, we occasionally need to prov1de General
Information about you to pre-appwved third pMty websites and applications that use Platform at the time you visit them (if you are still logged in to Facebook). Similarly,
when one ot your friends visits a pre- approved website or application, it will receive General Information about you so you and your friend can be connected on that website
as well (if you also have an account with that website). In these cases we require these websites and applications to go through an approval process, and to enter into separate
agreements designed to protect your privacy. For example, these agreements include provisions relating to the access and deletion of your General Information, along with
your ability to opt-out of the experience being offered. You can disable instant personalization on all pre-approved websites and applications using your Applications and
Websites                    You can also block a particular pre-approved website or application by clicking "No Thanks" in the blue bar when you visit that application or
website.                 you loq out ot Facebook betore visiting a pre-approved application or website, it will not be able to access your information.


Exporting Information. You (and those you make your infmrnation available to) may use tools like RSS feeds, mobile phone address book applications, or copy and paste
functions, to capture, export (and in some cases, import) information from Face book. including your information and information about you. For example, if you share your
phone number with your friends, they may use third party applications to sync that information with the address book on their mobile phone.

Advertisements. Sometimes the advertisers who present ads on racebook use technological methods to measure the effectiveness of their ads and to personalize advertising
corrtPrrt. You may opt-out of the placement of ruokiP<; by many of these advertisPrs lwrP. You rna.y also use your browser coo kiP sPtting<; to limit or prevPnt the placPrnPrrt of
cookies by advertising networks. Face book does not share personally identifiable information with advertisers unless we get your permission.

links. When you click on links on Facebook you may leave our site. We are not responsible for the privacy practices of other sites, and we encourage you to read their privacy
statements.

5. How We Use Your Information

WP usP Hlf' information Wf' roiiPrt to try to providf' a safp e-fflcif'nt, and customized f'XpPriencP. Hf'rf' are sornf' of the details on how WP do that:

To manage the service. We use the information we collect to provide our services and features to you, to measure and                      those services and features, and to provide
you with customer support. We use the information to prevent potentially illegal activities, and to enforce our                             and Resr:;onsi::lilities. We also use a variety of
technological systems to detect 3.nd address anomalous activity and screen content to prevent abuse such as spam. -rhese                   may on occasion result 111 a temporary or
pPrrnanPnt ~uspPnsion or tPrrnination of ~omP functions for some usErs.

To contact yoLI. We may contact you with service-related announcements from time to time. You may opt out of all communications except essential updates on your account
nmifications page. We may include content you see on Face book in the emails we send to you.

To serve personalized advertising to you. We don't share your information with advertisers without your consent. (An example of consent would be if you asked us to
provide your shipping address to an advertiser to receive a free sample.) We allow advertisers to choose the characteristics of users who will see their advertisements and we
may use any of the non-personally identifiable attributes we have collected (including information you may have decided not to show to other users, such as your birth year or
other sensitive personal information or preferences) to select the appropriate audience for those advertisements. For example, we rnight use your interest in soccer to show
you ads for soccer equipment, but we do not tell the soccer equipment company who you are. You can see the criteria advertisers may select by visitinq our advertisinq
Even though we do not share your information with advertisers without your consent, when you click on or otherwise interact with an advertisement there is a possibility
the advertiser may place a cookie in your browser and note that it meets the criteria they selected.

To serve social ads. We oc(asionally pair advPrtisf'ments WP serve with reiPvant information we havf' about you and your friends to makf' advPrtisements morf' intf'rf'sting and
more tailored to you and your friends. For example, if you connect with your favorite band's page, we may display your name and profile photo next to an advertisement for
that page that is displayed to your friends. We only share the personally identifiable information visible in the social ad with the friend who can see the ad. You can opt out of
having your information used in social ads on this help

To supplement your profile. We rnay use information about you that we collect from other Fact> book U~f'rs to ~uppiPrnf'rrt your profile (such as whPrr you arf' taggPd in a
photo or mentioned in a status update). In such cases we generally give you the ability to remove the content (such as allowing you to remove a photo tag of you) or limit its
visibility on your profile.

To make suggestions. We use your profile information, the addresses you import through our contact importers, and other relevant information, to help you connect with
your friends, including making suggestions to you and other users that you connect with on Face book. For example, if another user imports the same email address as you do_
we may suggest that you connect with each other. If you want to limit your visibility in suggestions we make to other people, you can adjust your search visibility ,Jrivacv
setting, as you will only be VIsible in our suggestions to the extent you choose to be visible in public search listings. You may also block specific individual users from being
suggested to you and you from being suggested to them.

To help your friends find you. We allow other users to use contact information they have about you, such as your email                                          including through contact
importers and search. You can prevent other users from using your email address to find you using the search section of your


Downloadable Software. Certain downloadable software applications and applets that we offer, such as our browser tool bars and photo uploaders, transmit data to us. We
may not make a formal disclosure if vve believe our collection of and use of the information is the obvious pmpose of the application, such as the fact that we receive photos
when you use our photo uploader. If we believe it is not obvious that we are collectmg or using such information, we will make a disclosure to you the first time you provide
thP information to us <;O that you carr decidP whPther you want to use tha.t fpature.

Memorializing Accounts. If we are notified that a user IS deceased, we may memorialize the user's account. In such cases we restrict profile access to confirmed friends, and
allow friends and family to write on the usN's Wall in remembrance. We may close an account if we receive a formal request from the user's next of kir or other proper legal
request to do so.

6. How We Share Information

Facebook is about sharing infmrnation with others- friends and people in your communities- while providing you with                                            you can use to restrict other
users from accessing some of your information. We share your information with third parties when we believe the sharing                                    you, reasonably necessary to after
our services, or when legally required to do so. For example:

When you make a payment. When you enter into transactions with others or make payments on Facebook, we will share transaction information with only those third parties
nf'rPssary to complete thP transaction. WP will rPquire those third part iPs to agree- to rPspf'rt the privacy of your information




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When you invite a friend to join. When you ask us to invite a friend to join Face book. we will send your friend a message on your behalf using your name. The invitation
may also contain information about other users your friend might know. We may also send up to two reminders to them in your name. You can see who has accepted your
invitations, send reminders, and delete your friends· email addresses on your invite history page. If your friend does not want us to keep their information, we will also remove
it at their request by using this    page.

When you choose to share your information with marketers. You may choose to share information with marketers or electronic commerce providers that arc not
associated with Facebook through on-site offers. This is entirely at your discretion and we will not provide your information to these marketers without your consent.

To help your friends find you. By detault, we make certain intormation you have posted to your profile available in search results on Facebook to help your friends find you.
However, you can control who can see some of this information, as well as who can find you in searches, through your         settings. We also partner with email and instant
messaging providers to help their users identify which of their contacts are Face book users, so that we can promote         to those users.

To give search engines access to public.ly available information. We generally limit search engines' access to our site. We may allow them to access inf01mation set to the
"everyone" setting (alonq with your name and profile picture) and your profile information that is visible to everyone. You can change the visibility of some of your profile
information using the customize section of your privacy settings. You can also prevent search engines from indexing your profile using the Applications and VVebsites privacy
setting.


To help improve or promote our service. Sometimes we share aggregated information with third parties to help improve or promote our service. But we only do so in such
a way that no individual user can be identified or linked to any specific action or information.

To provide you with services. We rn<-Jy providf' information to sPrvice provider~ that ht>lp us bring you thP servicP<> Wf' offer. For e-xampiP, WP rnay use third parties to help
host our website, send out email updates about Facebook, remove repetitive information from our user lists, process payments, or provide search results or links (including
sponsored lmks). These service providers may have access to your personal information for use for a limited time, but when th1s occurs we implement reasonable contractual
and tedmical protections to limit their use of that information to helping us p10vide the service.

To advertise our services. We may ask advertisers outside of Facebook to display ads promoting our services. We may ask them to deliver those ads based on the presence
of a cookie, but in doing so will not share any other information with the advertiser.

To offer joint services. We may provide servicPs jointly with othPr companies, ~uch as thP cia~ '::lined~ servicP in the Fan., book Markt>tplacP. If you usP these sPrvirPs, we rnay
share your information to facilitate that service. However, we will identity the partner and present the joint service provider's privacy policy to you betore you use that service.

To respond to legal requests and prevent harm. We may disclose information pursuant to subpoenas, court orders, or other requests (including criminal and civil matters)
if we have a good faith bel1ef that the response 1s required by law. l"his may include respecting requests from jurisdictions outside of the United States where we have a good
faith belief that the response is required by law under the local laws in that jurisdiction, apply to users from that jurisdiction, and are consistent with generally an.epted
international standards. V'v'e may also share information when we have a good faith belief it is              to prevent fraud or other illcqal activity, to prevent imminent bodily
harm, or to protect ourselves and you from people violating our Staternen:       Rights a1d                     This may include sharing information with other companies, lawyers,
courts or other government entities.

Transfer in the Event of Sale or Change of Control. If the ownership of all or sub~tantially all of our husirress rharrges, WP may transfPr your information to thP nPW owner
so that the service can continue to operate. In such a case, your information would remain subject to the promises made in any pre-existing Privacy Policy.

7. How You Can Change or Remove Information

Editing your profile. You may change or remove your profile information at any time by going to your profile page and clicking "Edit My Profile." Information will be updated
immediately.

Delete uploaded contacts. If you USf' our contact importPr to upload     <-Jddres~P<>,   you can latPr deletP the   li~t   orr this help p<:HJP. You ran dPIPtP the email   addrP~ses   offriPnds
you have invited to join Face book on your invite history page.

Deactivating or deleting your account. If you want to stop using your account you may deactivate it or delete it. When you deactivate an account. no user will be able to see
it, but it will not be deleted. We save your profile information (connections, photos, etc.) in case you later decide to reactivate your account. Many users deactivate their
accounts for temporary reasom and in doing so are asking us to maintain their information until they return to Facebook. You will still have the ability to reactivate your
account and restore your profile in its entirety. When you delete an account, it is permanently deleted from Face book. You should only delete your account if you are certain
you never want to reactivate it. You may deactivate your account on your             setti1gspage or delete your account on this help

limitations on removal. Even atter you remove information from your protile or delete           account, copies of that information may remain viewable elsewhere to the extent
it has been shared with others, it was othervJise distributed pursuant to your pr                or it was copied or stored by other users. However, your name will no longer be
associated with that information on Facebook. (For example, if you post something                user's profile and then you delete your account, that post may remain, but be
attnbuted to an "Anonymous Face book User.") Additionally, we may retain certain information to prevent identity theft and other misconduct even if deletion has been
requested. If you have given third party applications or websites access to your inf01rnation, they may retain your information to the extent permitted under their terms of
service or privacy policies. But they will no longer be able to access the information throuqh our Platform after you disconnect trom them.

Backup copies. Removed and deleted information may persist in backup copies far up to 90 days, but will not be available to others.

Non-user contact information. If a usPr providPs your email addrPss to us, and you arP not a FacPbook usPr but you want u~ to deiPtP your address, you can do so orr this
help page. However, that request will only apply to addresses we have at the time of the request and not to any addresses that users provide to us later.

8. How We Protect Information

We do our best to keep your information secure, but we need your help. For more detailed information about staying safe on Face book, visit the Face book Secur                   tv Page.
Steps we take to keep your information secure. We keep your account Information on a secured server behind a firewall. When you enter sensitive information (such as
credit card numbers and passwords), we encrypt that information using secure socket layer technology (SSL). We also use automated and social measures to enhance security,
such as analyzing account behavior for traudulent or otherwise anomalous behavior, may limit use of site teatures in         to possible      of abuse, mav remove
inappropriate content or links to illegal content, and may suspend or disable accounts for violations of our Statement        and

Risks inherent in sharing information. Although we allow you to set pnvacy options that limit access to your information, please be aware that no security measures are
per feet or impenetrable. We cannot control the actions of other users with whom you share your information. We cannot guarantee that only authorized per sons will view your
information. We cannot ensure that information you share on Facebook will not become publicly available. We arc not responsible for third party circumvention of any :Jrivacy
settings or security measures on Facebook. You can reduce these risks by using common sense security practices such as choosing a strong password, using different
passwords for different services, and using up to date antivirus software.

Report Violations. You should reporl any sPcurity violations to us orr this help pdlJF'

9. Other Terms
                                                                                                                       Options
                   change this Privacy Policy pursuant to the procedures outlined 111                                                                     Unless stated otherwise, our current
                      to all information that we have about you and your account. If                                                       e will notify you by publication here and on the
                                  If the         are material, we will provide you                                                         under the circumstances. You can make sure that
                                                                                                      jdke Durkee
                                                                     Page.
                                                                                                      l<enny johnston
Consent to Collection and Processing in the United States. By using Facebook.                                                              ,transterred to and processed in the United States.
                                                                                                      Steve Farqt...har
Defined Terms. "Us," "we," "our," "Platform" and "Facebook'' mean the same as they do                                                      1sibilities. "Information" and "content" are used
more generally and interchangeably here than in the Statement     Rights and                                                               context.

Helpful links




                                                                                                                                                                                 FB- MDL- 00000030
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Staterrent of                                                             Face book
Facebook Site
                                                                          USF Law School

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